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WESTERN DISTRlCT OF TENNESSEE md
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_v_ 2:04CR20079_01_M| W.D. C}F zi‘i, ;vz;;ithH!S
MARK FREDERlCK STRA|GHT

Jacob Erwin CJA

Defense Attorney

200 Jefferson Avenue, Suite 1313
Memphis, TN 38103

 

 

*A-M-E-N-D-E-D JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Counts 1, 2 and 3 of the indictment on Ju|y 23, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section Natl-ll‘\"-‘C>f__@@_@ Offense N_un'i_be_r{§)
M£lyd_ed
18 U.S.C. § 2252(3)(1) & Transportation of Child Pornography 04/14/2003 1
2
18 U.S.C. § 2252(a)(1) & Transportation of Child Pornography 05/05/2003 2
2
18 U.S.C. § 2252(3)(1) & Transportation of Child Pornography 05/08/2003 3
2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/07/1962 December 3, 2004
Deft’s U.S. l\/larshal No.: 16783-424

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Th"t:\ Rule 55 andlor 32lb) FP\CrF‘ f 1
W` O

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Defendant’s Nlailing Address:

3428 South Kenilworth Avenue, Apt. f-N
Berwyn, lL 60402

§§ Q. Ml`@QQ

JON PH|PPS |VICCALLA
ED TATES D|STR|CT JUDGE

June l , 2005

  

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Case No: 2:04CR20079-01-i\/i| Defendant Name: |Viark Frederick STRA|GHT Page 3 0f6
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *84 Months (or 7 Years) as to Count 1; 84 Months
or 7 Years as to Count 2' 84 Months or 7 Years as to Count 3. Counts 1 2 and 3 are
to be served concurrently with each other for a total term of incarceration of 84

Months (or 7 Years).

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at FCl-Butner, NC or another facility which can offer treatment for sexual offenders

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETU RN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:04CR20079-01-l\/|| Defendant Name: lVlark Frederick STRA|GHT Page 4 ofG

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 ¥ears as to Counts 1, 2 and 3;ai| Counts are to be supervised concurrently
with each other.

The defendant shall report to the probation office in the district to which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shai| permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CR20079-01~i\/|i Defendant Name: |Viark Frederick STRA|GHT Page 5 of 6

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofticer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. Empioyment and change ofAddress must be approved by the Probation Officer.

2. The defendant must participate in specialized sex offender treatment program that may
include a plethysmograph and polygraph

3. The defendant may not possess any pornographyl
4. The defendant may not have direct or indirect contact with any child under age 18; may not

reside with any child under age 18; and may not loiter near school yards, piaygrounds,
swimming poois, arcades, or other places frequented by children.

5. The defendant may not use sexually oriented telephone number or services.
6. The defendant must abide by an evening curfew as set by the Probation Officer.
7. The defendant shall not possess, or use, a computer with access to any “on-line computer

service” at any location (including empioyment) without the prior approval of the Probation
Officer. This includes any lntemet Service provider, bulletin board system or any other
public or private network or e-mai| system.

8. The defendants place of residence shall not be close in proximity to parks, piaygrounds,
public pools, or other locations frequented by children.

*9. The defendant shall cooperate With DNA collection as directed by the Probation Officer.

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Case No'. 2:04CR20079-01-Ml Defendant Name: lVlark Frederick STRA|GHT Page 6 of 6

CR|M|NAL MONETAR¥ PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fi ne Totai Restitution
$300.00

The Special Assessment shall be due immediately
FlNE
No fine imposedl
REST|TUT|ON

No Restitution was ordered.

  
 

 

UNITED sTEsAT DISTRICT COURT - WE TER DISTRICT TENNESSEE

 
 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:04-CR-20079 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St

Ste. 800

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

